


  OPINION OF THE COURT
 

  In
  
   Matter of De Masco Scrap Iron &amp; Metal Corp. v Zirk:
  
  Order affirmed, with costs, for the reasons stated in the
   
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  opinion by Mr. Justice Joseph F. Hawkins at the Appellate Division (62 AD2d 92).
 

  In
  
   Matter of Allmendinger v Ziegner:
  
  Order affirmed, with costs, for the reasons stated in the memorandum at the Appellate Division (62 AD2d 1053).
 

  Concur: Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler and Fuchsberg.
 
